ATTACHMENT “A

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verizon’ Baling ported Feb 9 2017 to Mar 2, 2017 | Account # £25299225-00001 | Involes # 7489914170

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Jennifer L Artesi
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Talk activity - continued

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Jennifer L Artesi

603.833.3868 | Moto Z Play
Talk activity

Airtime Long Dist/

Date Time Number Origination Destination Min. Charges Other Chgs Total

 

 

 

 

 

 

 
 

verizon’ Billing pertod Mar 3, 2017 to Apr 2, 2017 | Account € 525220326-00001 | invoice € 7503614711

Talk activity - continued

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